        Case 3:20-cv-02022-IM      Document 168     Filed 01/18/22   Page 1 of 2




                           UNITED STATES DISTRICT COURT
                                DISTRICT OF OREGON
                                 PORTLAND DIVISION

COCINA CULTURA LLC, an Oregon limited             Case No. 3:20-cv-01866-IM (L)
liability company,                                Case No. 3:20-cv-02022-IM (T)

              Plaintiff,
                                                  STIPULATED JUDGMENT OF
vs.                                               DISMISSAL WITH PREJUDICE AND
                                                  WITHOUT COSTS
STATE OF OREGON; OREGON
DEPARTMENT OF ADMINISTRATIVE
SERVICES; KATY COBA, in her Official
Capacity as State Chief Operating Officer and
Director of the Oregon Department of
Administrative Services; THE CONTINGENT,
an Oregon nonprofit corporation; THE BLACK
UNITED FUND OF OREGON, INC., an
Oregon nonprofit corporation,

             Defendants.
Case 3:20-cv-02022-IM   Document 168   Filed 01/18/22   Page 2 of 2
